                  Case 1-19-44768-cec                  Doc 19   Filed 01/30/20       Entered 01/30/20 07:05:02


 Information to identify the case:
 Debtor 1              Silverio Rivera                                             Social Security number or ITIN   xxx−xx−1384
                       First Name   Middle Name   Last Name                        EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                       First Name   Middle Name   Last Name
 (Spouse, if filing)
                                                                                   EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court            Eastern District of New York
                                                                                   Date case filed for chapter 7 8/5/19
 Case number:          1−19−44768−cec




                                            NOTICE OF DISCOVERY OF ASSETS
NOTICE IS HEREBY GIVEN THAT:

It appeared from the schedules filed when the above case was initiated that there were no assets from which
dividends could be paid to creditors as indicated on the notice of meeting of creditors.

It now appears that payment of a dividend may be possible. Creditors must now file claims in order to share in any
distribution from the estate. Claims must be filed with the Clerk's Office at the location given below:
 UNITED STATES BANKRUPTCY COURT
 271−C Cadman Plaza East, Suite 1595
 Brooklyn, NY 11201−1800
Creditors who have previously filed a claim in this case need not file again. Claims must be filed on or before
April 29, 2020 .

A Proof of Claim form, "Official Form 410", can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any Bankruptcy Clerk's Office.

If you are an ECF account holder, proofs of claim may be filed over the Internet. If you are not a current ECF
account holder, you may file a proof of claim by going to the Court's website Electronic Filing of Proof of Claim
(ePOC) at http://www.nyeb.uscourts.gov/electronic−filing−proof−claim−epoc and select File a Claim (ePOC). This
application does not require a login and password. You can also file a proof of claim by CD−ROM/DVD or flash
drive and mail it to the address stated above.


 Dated: January 30, 2020


                                                                          For the Court, Robert A. Gavin, Jr., Clerk of Court




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